                               Case: 18-12946                           Doc: 1       Filed: 07/13/18           Page: 1 of 82


 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF OKLAHOMA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                 Check if this is an
                                                                        Chapter 13
                                                                                                                                 amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Debra                                                    Gomer
     government-issued picture
                                       First Name                                               First Name
     identification (for example,
     your driver's license or          K                                                        L
     passport).                        Middle Name                                              Middle Name

                                       Casey                                                    Casey
     Bring your picture                Last Name                                                Last Name
     identification to your meeting                                                             Jr.
     with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


2.   All other names you               Deborah                                                  Skeet
     have used in the last 8           First Name                                               First Name
     years
                                       Middle Name                                              Middle Name
     Include your married or
                                       Casey                                                    Casey
     maiden names.
                                       Last Name                                                Last Name



                                       Debbie
                                       First Name                                               First Name


                                       Middle Name                                              Middle Name
                                       Casey
                                       Last Name                                                Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   2        9       5    7     xxx – xx –                   2         9        9      0
     number or federal                 OR                                                       OR
     Individual Taxpayer
     Identification number             9xx – xx –                                               9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 1
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                                Case number (if known)

                                      About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                       I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in           Business name                                                Business name
     the last 8 years
                                      Business name                                                Business name
     Include trade names and
     doing business as names
                                      Business name                                                Business name

                                                   –                                                           –
                                      EIN                                                          EIN
                                                   –                                                           –
                                      EIN                                                          EIN
5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                      1638 Harvest Road
                                      Number       Street                                          Number      Street




                                      Ponca City                      OK       74604
                                      City                            State    ZIP Code            City                           State    ZIP Code

                                      Kay
                                      County                                                       County

                                      If your mailing address is different from                    If Debtor 2's mailing address is different
                                      the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                      court will send any notices to you at this                   will send any notices to you at this mailing
                                      mailing address.                                             address.

                                      1638 Harvest Rd
                                      Number       Street                                          Number      Street


                                      P.O. Box                                                     P.O. Box

                                      Ponca City                      OK       74604
                                      City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing             Check one:                                                   Check one:
     this district to file for
     bankruptcy                               Over the last 180 days before filing this                   Over the last 180 days before filing this
                                              petition, I have lived in this district longer              petition, I have lived in this district longer
                                              than in any other district.                                 than in any other district.

                                              I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the              Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you             for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                   Chapter 7

                                             Chapter 11

                                             Chapter 12

                                             Chapter 13




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                      Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                        Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                          Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                         Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                          50,001-100,000
    owe?                                  100-199                          10,001-25,000                         More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Debra K Casey                                         X /s/ Gomer L Casey, Jr.
                                      Debra K Casey, Debtor 1                                     Gomer L Casey, Jr., Debtor 2

                                      Executed on 07/13/2018                                      Executed on 07/13/2018
                                                  MM / DD / YYYY                                              MM / DD / YYYY


Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                       Case number (if known)

For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                  relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                is incorrect.



                                  X /s/ O. Clifton Gooding                                              Date 07/13/2018
                                     Signature of Attorney for Debtor                                        MM / DD / YYYY


                                     O. Clifton Gooding
                                     Printed name
                                     The Gooding Law Firm, P.C.
                                     Firm Name
                                     650 City Place Building
                                     Number          Street
                                     204 N. Robinson Avenue




                                     Oklahoma City                                              OK              73102
                                     City                                                       State           ZIP Code


                                     Contact phone (405) 948-1978                     Email address cgooding@goodingfirm.com


                                     10315                                                      OK
                                     Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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 Fill in this information to identify your case and this filing:
 Debtor 1            Debra                K                   Casey
                     First Name           Middle Name         Last Name

 Debtor 2            Gomer                L                   Casey, Jr.
 (Spouse, if filing) First Name           Middle Name         Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                            What is the property?                         Do not deduct secured claims or exemptions. Put the
RR 1 Box 3617, Jennings, OK 74038               Check all that apply.                         amount of any secured claims on Schedule D:
                                                    Single-family home                        Creditors Who Have Claims Secured by Property.
                                                    Duplex or multi-unit building             Current value of the       Current value of the
                                                    Condominium or cooperative                entire property?           portion you own?
Pawnee
County                                              Manufactured or mobile home                          $24,000.00                    $24,000.00
                                                    Land
                                                    Investment property                       Describe the nature of your ownership
                                                    Timeshare                                 interest (such as fee simple, tenancy by the
                                                    Other                                     entireties, or a life estate), if known.

                                                Who has an interest in the property?
                                                                                              Fee Simple
                                                Check one.
                                                    Debtor 1 only                                Check if this is community property
                                                    Debtor 2 only                                (see instructions)
                                                    Debtor 1 and Debtor 2 only
                                                    At least one of the debtors and another

                                                Other information you wish to add about this item, such as local
                                                property identification number:  0370-00-002-007-0-00
6.66 acres of land with a Small Building, a Barn, Well, Septic and Cellar
(No house is on the property)
Legal Description: Lot Seven (7), Block Two (2), Cimarron Ranch, a Sub-Dision in Pawnee County, State of Oklahoma,
according to the recorded plat thereof




Official Form 106A/B                                        Schedule A/B: Property                                                          page 1
                                   Case: 18-12946                     Doc: 1           Filed: 07/13/18                  Page: 9 of 82


Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                                    Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
1638 Harvest Rd, Ponca City, Ok                          Check all that apply.                               amount of any secured claims on Schedule D:
74604                                                         Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Kay
County                                                        Manufactured or mobile home                                $178,353.00                 $178,353.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Fee Simple
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:  6200-21-026-03E-2-00
Homestead
Home and 5 acres of land outside city limits
Legal Description: A TRACT OF LAND IN THE NORTHWEST QUARTER OF SECTION 21, TOWNSHIP 26 NORTH, RANGE 3 EAST
OF THE INDIAN MERIDIAN, KAY COUNTY, STATE OF OKLAHOMA MORE PARTICULARLY DESCRIBED AS FOLLOW:
COMMENCING AT THE NORTHEAST CORNER OF THE NORTHWEST QUARTER OF SECTION 21, TOWNSHIP 26 NORTH, RANGE 3
EAST OF THE INDIAN MERIDIAN, KAY COUNTY, STATE OF OKLAHOMA; THENCE SOUTH 1761.33 FEET; THENCE WEST 824.67
FEET TO THE POINT OF BEGINNING; THENCE WEST 494.67 FEET TO A POINT 1757.67 FEET SOUTH OF THE SECTION LINE;
THENCE SOUTH 439.42 FEET; THENCE EAST 494.73 FEET; THENCE NORTH 439.76 FEET TO THE POINT OF BEGINNING, LESS A
15 FOOT ROAD EASEMENT ON THE EAST SIDE OF SAID TRACT
2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $202,353.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Chevrolet                    Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Pickup
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       1988                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 250,000                                  At least one of the debtors and another                $200.00                              $200.00
Other information:
1988 Chevrolet Pickup (Over 250,000                           Check if this is community property
miles)                                                        (see instructions)
**Does not run**

Mannford, Oklahoma




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                Case number (if known)


3.2.                                    Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Cougar           Check one.                                 amount of any secured claims on Schedule D:
                                           Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 XR7
                                           Debtor 2 only                           Current value of the      Current value of the
Year:                  1994
                                           Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 130,000               At least one of the debtors and another                $250.00                  $250.00
Other information:
1994 Cougar XR7 (Over 130,000 miles)       Check if this is community property
**Does not run**                           (see instructions)
1638 Harvest Rd
Ponca City, Ok 74604
3.3.                                    Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Buick            Check one.                                 amount of any secured claims on Schedule D:
                                           Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Park Avenue
                                           Debtor 2 only                           Current value of the      Current value of the
Year:                  1998
                                           Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 200,000               At least one of the debtors and another                $250.00                  $250.00
Other information:
1998 Buick Park Avenue (Over               Check if this is community property
200,000 miles)                             (see instructions)
**Does not run**
1638 Harvest Rd
Ponca City, Ok 74604
3.4.                                    Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                                   Check one.                                 amount of any secured claims on Schedule D:
                                           Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:
                                           Debtor 2 only                           Current value of the      Current value of the
Year:
                                           Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                       At least one of the debtors and another                $200.00                  $200.00
Other information:
Pickup Bed Trailer                         Check if this is community property
1638 Harvest Rd                            (see instructions)
Ponca City, Ok 74604
3.5.                                    Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                                   Check one.                                 amount of any secured claims on Schedule D:
                                           Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:
                                           Debtor 2 only                           Current value of the      Current value of the
Year:
                                           Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                       At least one of the debtors and another             $1,000.00                 $1,000.00
Other information:
16' Utility Trailer                        Check if this is community property
1638 Harvest Rd                            (see instructions)
Ponca City, Ok 74604
3.6.                                    Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Buick            Check one.                                 amount of any secured claims on Schedule D:
                                           Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Park Avenue
                                           Debtor 2 only                           Current value of the      Current value of the
Year:                  1999
                                           Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 180,000               At least one of the debtors and another             $2,000.00                 $2,000.00
Other information:
1999 Buick Park Avenue (Over               Check if this is community property
1800,000 miles)                            (see instructions)
1638 Harvest Rd
Ponca City, Ok 74604




Official Form 106A/B                               Schedule A/B: Property                                                     page 3
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Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                                  Case number (if known)


3.7.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Mercury                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Cougar
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      1994
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 210,000                                At least one of the debtors and another             $2,375.00                             $2,375.00
Other information:
1994 Mercury Cougar XR7 V8 (Over                            Check if this is community property
210,000 miles)                                              (see instructions)
1638 Harvest Rd
Ponca City, Ok 74604
3.8.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevy                       Check one.                                          amount of any secured claims on Schedule D:
                                                 Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
Model:                     3/4 Ton 4WD Extended Pick
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2000
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 190,000                                At least one of the debtors and another             $4,700.00                             $4,700.00
Other information:
2000 Chevy 3/4 Ton 4wd Ext. Cab                             Check if this is community property
Pickup                                                      (see instructions)
(Over 190,000 miles)
1638 Harvest Rd
Ponca City, Ok 74604
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Javelin                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     16.08 Fish & Ski Boat
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      1994
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $1,200.00                             $1,200.00
1994 Javelin 16.08 Fish & Ski Boat
With 120 Hp 1993 Johnson Motor                              Check if this is community property
1638 Harvest Rd                                             (see instructions)
Ponca City, Ok 74604
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $12,175.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods and furnishings                                                                                      $10,000.00
                                1638 Harvest Rd
                                Ponca City, Ok 74604
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............


Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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Debtor 1          Debra K Casey
Debtor 2          Gomer L Casey, Jr.                                                                                                    Case number (if known)

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                      $3,900.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Wearing apparel                                                                                                                                                                $2,000.00
                                          1638 Harvest Rd
                                          Ponca City, Ok 74604
12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding Rings                                                                                                                                                                  $2,500.00
                                          1638 Harvest Rd
                                          Ponca City, Ok 74604
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                (11) Rabbits - The debtors raise the rabbits as a source of food for them                                                                                                         $220.00
                                          1638 Harvest Rd
                                          Ponca City, Ok 74604
14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $18,620.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 5
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Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                                   Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Checking account:                Checking Account with Equity Bank
                                                         Account number ending in 1105                                                               $9.99
            17.2.       Checking account:                Checking Account with City National Bank
                                                         Account number ending in 1644                                                            $3,536.08
            17.3.       Savings account:                 Savings Account with Western Sun Credit Union
                                                         Account number ending in 3000                                                              $25.00
            17.4.       Savings account:                 Savings Account with Western Sun Credit Union
                                                         Account number ending in 2500                                                              $26.26
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

                                               E*Trade Securities, LLC
                                               Account number ending in xxxx-7860                                                                    $0.01
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




Official Form 106A/B                                                         Schedule A/B: Property                                                   page 6
                                    Case: 18-12946                  Doc: 1      Filed: 07/13/18            Page: 14 of 82


Debtor 1        Debra K Casey
Debtor 2        Gomer L Casey, Jr.                                                            Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                              Federal:
           about them, including whether
           you already filed the returns                                                                               State:
           and the tax years.....................................
                                                                                                                       Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                           Beneficiary:                      Surrender or refund value:

                                                  Term Life Insurance $100,000.00         Spouse                                                 $0.00
                                                  Term Life Insurance $100,000.000                                                               $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


Official Form 106A/B                                                 Schedule A/B: Property                                                       page 7
                                     Case: 18-12946                          Doc: 1              Filed: 07/13/18                       Page: 15 of 82


Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                                                  Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $3,597.34


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
                                     Case: 18-12946                          Doc: 1              Filed: 07/13/18                       Page: 16 of 82


Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                                                  Case number (if known)

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................
                     See continuation page(s).                                                                                                                             $2,090.00

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................
                     2007 Kubota 3130 Tractor And Misc. Implements                                                                                                        $13,000.00
                      1638 Harvest Rd
                      Ponca City, Ok 74604
50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................
                     See continuation page(s).                                                                                                                                 $40.00

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................    $15,130.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             Tools And Tool Boxes (Debtor uses tools for work)
             1638 Harvest Rd
             Ponca City, Ok 74604                                                                                                                                          $3,500.00

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                       $3,500.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 9
                                        Case: 18-12946                             Doc: 1                Filed: 07/13/18                         Page: 17 of 82


Debtor 1           Debra K Casey
Debtor 2           Gomer L Casey, Jr.                                                                                         Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $202,353.00

56. Part 2: Total vehicles, line 5                                                                                  $12,175.00

57. Part 3: Total personal and household items, line 15                                                             $18,620.00

58. Part 4: Total financial assets, line 36                                                                           $3,597.34

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                       $15,130.00

61. Part 7: Total other property not listed, line 54                                               +                  $3,500.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $53,022.34              property total                 +           $53,022.34


63. Total of all property on Schedule A/B.                                                                                                                                                  $255,375.34
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 10
                          Case: 18-12946              Doc: 1        Filed: 07/13/18           Page: 18 of 82


Debtor 1    Debra K Casey
Debtor 2    Gomer L Casey, Jr.                                                    Case number (if known)


9.   Equipment for sports and hobbies (details):

     Fire Gun Safe                                                                                              $700.00
     1638 Harvest Rd
     Ponca City, Ok 74604
     Thompson Center .50 Cal. Black Powder                                                                      $200.00
     1638 Harvest Rd
     Ponca City, Ok 74604
     (1) Springfield .410 Pump Shotgun; (1) Remington Semi Automatic .22 Rifle and Scope; (1)                  $3,000.00
     Browning A Bolt 30.06 Rifle and Scope; (1) Weatherby .240 Cal Rifle and Scope; (1) Smith &
     Wesson Model 29 .44 Cal Revolver and (1) Glock .40 Cal. Semi Auto Hand Gun
     1638 Harvest Rd
     Ponca City, Ok 74604
47. Farm animals (details):

     (9) Chickens                                                                                                $90.00
     1638 Harvest Rd
     Ponca City, Ok 74604
     Angus Mix Cow And Calf                                                                                    $1,000.00
     1638 Harvest Rd
     Ponca City, Ok 74604
     Angus Cow And Calf                                                                                        $1,000.00
     1638 Harvest Rd
     Ponca City, Ok 74604
50. Farm and fishing supplies, chemicals, and feed (details):

     Chicken Feed                                                                                                $20.00
     1638 Harvest Rd
     Ponca City, Ok 74604
     Rabbit Feed                                                                                                 $20.00
     1638 Harvest Rd
     Ponca City, Ok 74604




Official Form 106A/B                                     Schedule A/B: Property                                   page 11
                              Case: 18-12946                Doc: 1           Filed: 07/13/18             Page: 19 of 82


 Fill in this information to identify your case:
 Debtor 1            Debra                K                      Casey
                     First Name           Middle Name            Last Name
 Debtor 2            Gomer                L                      Casey, Jr.
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                           Case: 18-12946                Doc: 1        Filed: 07/13/18              Page: 20 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $178,353.00              $178,353.00         Okla. Stat. tit. 31 §§ 1(A)(1), (2)
1638 Harvest Rd, Ponca City, Ok 74604                                        100% of fair market
Homestead                                                                    value, up to any
Home and 5 acres of land outside city                                        applicable statutory
limits                                                                       limit
Legal Description: A TRACT OF LAND IN
THE NORTHWEST QUARTER OF SECTION
21, TOWNSHIP 26 NORTH, RANGE 3 EAST
OF THE INDIAN MERIDIAN, KAY COUNTY,
STATE OF OKLAHOMA MORE
PARTICULARLY DESCRIBED AS FOLLOW:
COMMENCING AT THE NORTHEAST
CORNER OF THE NORTHWEST QUARTER
OF SECTION 21, TOWNSHIP 26 NORTH,
RANGE 3 EAST OF THE INDIAN MERIDIAN,
KAY COUNTY, STATE OF OKLAHOMA;
THENCE SOUTH 1761.33 FEET; THENCE
WEST 824.67 FEET TO THE POINT OF
BEGINNING; THENCE WEST 494.67 FEET TO
A POINT 1757.67 FEET SOUTH OF THE
SECTION LINE; THENCE SOUTH 439.42
FEET; THENCE EAST 494.73 FEET; THENCE
NORTH 439.76 FEET TO THE POINT OF
BEGINNING, LESS A 15 FOOT ROAD
EASEMENT ON THE EAST SIDE OF SAID
TRACT
Parcel: 6200-21-026-03E-2-00
Line from Schedule A/B: 1.2

Brief description:                                      $2,375.00                $2,375.00          Okla. Stat. tit. 31 § 1(A)(13)
1994 Mercury Cougar (approx. 210000                                          100% of fair market
miles)                                                                       value, up to any
1994 Mercury Cougar XR7 V8 (Over                                             applicable statutory
210,000 miles)                                                               limit
1638 Harvest Rd
Ponca City, Ok 74604
Line from Schedule A/B: 3.7

Brief description:                                      $4,700.00                $4,700.00          Okla. Stat. tit. 31 § 1(A)(13)
2000 Chevy 3/4 Ton 4WD Extended Pick                                         100% of fair market
(approx. 190000 miles)                                                       value, up to any
2000 Chevy 3/4 Ton 4wd Ext. Cab Pickup                                       applicable statutory
(Over 190,000 miles)                                                         limit
1638 Harvest Rd
Ponca City, Ok 74604
Line from Schedule A/B: 3.8

Brief description:                                     $10,000.00               $10,000.00          Okla. Stat. tit. 31 § 1(A)(3)
Household goods and furnishings                                              100% of fair market
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B: 6                                                    limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                              page 2
                           Case: 18-12946                Doc: 1        Filed: 07/13/18              Page: 21 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $700.00                  $700.00           Okla. Stat. tit. 31 § 1(A)(14)
Fire Gun Safe                                                                100% of fair market
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B:     9                                                limit

Brief description:                                       $200.00                  $200.00           Okla. Stat. tit. 31 § 1(A)(14)
Thompson Center .50 Cal. Black Powder                                        100% of fair market
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B: 9                                                    limit

Brief description:                                      $3,000.00                $3,000.00          Okla. Stat. tit. 31 § 1(A)(14)
(1) Springfield .410 Pump Shotgun; (1)                                       100% of fair market
Remington Semi Automatic .22 Rifle and                                       value, up to any
Scope; (1) Browning A Bolt 30.06 Rifle and                                   applicable statutory
Scope; (1) Weatherby .240 Cal Rifle and                                      limit
Scope; (1) Smith & Wesson Model 29 .44
Cal Revolver and (1) Glock .40 Cal. Semi
Auto Hand Gun
1638 Harvest Rd
Ponca City, Ok 74604
Line from Schedule A/B:  9

Brief description:                                      $2,000.00                $2,000.00          Okla. Stat. tit. 31 § 1(A)(7)
Wearing apparel                                                              100% of fair market
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B:    11                                                limit

Brief description:                                      $2,500.00                $2,500.00          Okla. Stat. tit. 31 § 1(A)(8)
Wedding Rings                                                                100% of fair market
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B:    12                                                limit

Brief description:                                        $9.99                     $7.49           Okla. Stat. tit. 12 § 1171.1
Checking Account with Equity Bank                                            100% of fair market
Account number ending in 1105                                                value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $18.75           Okla. Stat. tit. 12 § 1171.1
Savings Account with Western Sun Credit                                      100% of fair market
Union                                                                        value, up to any
Account number ending in 3000                                                applicable statutory
Line from Schedule A/B: 17.3                                                 limit

Brief description:                                       $26.26                    $19.70           Okla. Stat. tit. 12 § 1171.1
Savings Account with Western Sun Credit                                      100% of fair market
Union                                                                        value, up to any
Account number ending in 2500                                                applicable statutory
Line from Schedule A/B: 17.4                                                 limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                           Case: 18-12946                Doc: 1        Filed: 07/13/18              Page: 22 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,536.08                $2,652.06          Okla. Stat. tit. 12 § 1171.1
Checking Account with City National Bank                                     100% of fair market
Account number ending in 1644                                                value, up to any
Line from Schedule A/B: 17.2                                                 applicable statutory
                                                                             limit

Brief description:                                       $90.00                    $90.00           Okla. Stat. tit. 31 §§ 1(A)(10-12),
(9) Chickens                                                                 100% of fair market    (15-17)
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B:    47                                                limit

Brief description:                                      $1,000.00                $1,000.00          Okla. Stat. tit. 31 §§ 1(A)(10-12),
Angus Mix Cow And Calf                                                       100% of fair market    (15-17)
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B: 47                                                   limit

Brief description:                                      $1,000.00                $1,000.00          Okla. Stat. tit. 31 §§ 1(A)(10-12),
Angus Cow And Calf                                                           100% of fair market    (15-17)
1638 Harvest Rd                                                              value, up to any
Ponca City, Ok 74604                                                         applicable statutory
Line from Schedule A/B:    47                                                limit

Brief description:                                      $3,500.00                $3,500.00          Okla. Stat. tit. 31 § 1(A)(5)
Tools And Tool Boxes (Debtor uses tools                                      100% of fair market
for work)                                                                    value, up to any
1638 Harvest Rd                                                              applicable statutory
Ponca City, Ok 74604                                                         limit
Line from Schedule A/B: 53




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
                                 Case: 18-12946                Doc: 1           Filed: 07/13/18                Page: 23 of 82


  Fill in this information to identify your case:
  Debtor 1             Debra                 K                      Casey
                       First Name            Middle Name            Last Name

  Debtor 2            Gomer                  L                      Casey, Jr.
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A                Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim         Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the       that supports this     portion
        creditor's name.                                                                 value of collateral     claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $172,209.00              $178,353.00
Wells Fargo Home Mor
Creditor's name
                                                 1638 Harvest Rd, Ponca City,
Attn: Bankruptcy                                 Ok 74604
Number       Street
MAC X7801-014           3476 Stateview Blvd
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Fort Mill                SC      29715               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred           10/2009         Last 4 digits of account number        4     2    1    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $172,209.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
                                Case: 18-12946             Doc: 1          Filed: 07/13/18                  Page: 24 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                         Case number (if known)

                  Additional Page                                                     Column A                Column B              Column C
  Part 1:                                                                             Amount of claim         Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the       that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral     claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $26,000.00               $26,000.00
Wells Fargo Home Mor                          1638 Harvest Rd, Ponca City,
Creditor's name
Attn: Bankruptcy                              Ok 74604
Number      Street
MAC X7801-014           3476 Stateview Blvd
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Fort Mill               SC      29715             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage arrears
   to a community debt
Date debt was incurred          Various       Last 4 digits of account number        4     2    1    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $26,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $198,209.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                              Case: 18-12946             Doc: 1         Filed: 07/13/18              Page: 25 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                      Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Shapiro & Cejda LLC                                                    On which line in Part 1 did you enter the creditor?          2.1
        Name
        Attn Lesli Bailey Peterson                                             Last 4 digits of account number        1    1    2      3
        Number       Street
        770 NE 63rd Street


        Oklahoma City                            OK      73105
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3
                                Case: 18-12946                 Doc: 1           Filed: 07/13/18             Page: 26 of 82


  Fill in this information to identify your case:
  Debtor 1             Debra                 K                      Casey
                       First Name            Middle Name            Last Name

  Debtor 2            Gomer                  L                      Casey, Jr.
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $2,004.34           $2,004.34                $0.00
Oklahoma Tax Commission
Priority Creditor's Name                                   Last 4 digits of account number        9     9    8      4
Legal Division                                             When was the debt incurred?          2012
Number       Street
100 N Broadway Avenue Suite 1500                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Oklahoma City                   OK      73102                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                           Case: 18-12946                 Doc: 1          Filed: 07/13/18               Page: 27 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                        Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                        Total claim       Priority       Nonpriority
previous page.                                                                                                     amount         amount


   2.2                                                                                                 $423.91          $423.91          $0.00
Oklahoma Tax Commission
Priority Creditor's Name                               Last 4 digits of account number       6     7    3      6
Legal Division                                         When was the debt incurred?        2016
Number       Street
100 N Broadway Avenue Suite 1500                       As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Oklahoma City              OK       73102                  Disputed
City                       State    ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
     No
     Yes
Media Number 830509444
   2.3                                                                                              $2,500.00         $2,500.00          $0.00
The Gooding Law Firm, P.C.
Priority Creditor's Name                               Last 4 digits of account number       3     5    6      1
204 N. Robinson Avenue                                 When was the debt incurred?        06/06/2018
Number       Street
Suite 650                                              As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Oklahoma City              OK       73102                  Disputed
City                       State    ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?                            Attorney fees for this case
     No
     Yes




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
                                Case: 18-12946                  Doc: 1          Filed: 07/13/18                Page: 28 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                               Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $4,143.00
AllianceHealth                                              Last 4 digits of account number         2 2        6     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2016
1900 North 14th Street
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Ponca City                      OK      74601
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $823.00
AllianceHealth                                              Last 4 digits of account number         6     9    5     8
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2016
1900 North 14th Street
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Ponca City                      OK      74601
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
                              Case: 18-12946                Doc: 1          Filed: 07/13/18              Page: 29 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                               $232.00
Allrad, LLC                                              Last 4 digits of account number      4 6        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2016
c/o Credit Systems International, Inc
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1277 Country Club Lane                                       Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76112
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                               $505.00
Capital One                                              Last 4 digits of account number       2    1    2    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $484.00
Capital One                                              Last 4 digits of account number      1 2        8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
                              Case: 18-12946                Doc: 1          Filed: 07/13/18              Page: 30 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                               $278.00
Capital One                                              Last 4 digits of account number      3 2        6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                               $799.00
Comenity Bank/Full Beauty                                Last 4 digits of account number       0    9    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2008
Attn Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                               $162.00
Comenity Bank/Stage                                      Last 4 digits of account number      5 1        6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2009
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
                              Case: 18-12946                Doc: 1          Filed: 07/13/18              Page: 31 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                               $403.00
Continental Finance Company                              Last 4 digits of account number      3 0        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2013
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8099                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Newark                        DE      19714
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                               $551.00
Credit One Bank                                          Last 4 digits of account number       1    7    4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2017
ATTN: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                               $112.00
Emergency Services Of Oklahoma                           Last 4 digits of account number      2 9 9           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/23/2017
P.O. Box 96408
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Oklahoma City                 OK      73143
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bills
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                               $249.00
Emergency Services Of Oklahoma                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/05/2018
P.O. Box 96408
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Oklahoma City                 OK      73143
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               $564.44
Fingerhut                                                Last 4 digits of account number       4    7    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6250 Ridgewood Rd                                            Contingent
                                                             Unliquidated
                                                             Disputed
Saint Cloud                   MN      56303
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Cards
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                $62.00
Fingerhut                                                Last 4 digits of account number      6 7        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2016
Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6250 Ridgewood Rd                                            Contingent
                                                             Unliquidated
                                                             Disputed
Saint Cloud                   MN      56303
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                               $660.00
First National Credit Card/Legacy                        Last 4 digits of account number      1 9        3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2016
First National Credit Card
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5097                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      51117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                             $3,430.00
Health Diagnostic Laboratory                             Last 4 digits of account number       3    4    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/10/2015
c/o Accelerated Receivables Management
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3219 Atlantic Blvd                                           Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32207
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                             $2,027.01
Pay Pal Credit                                           Last 4 digits of account number      1 0        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
P.O. Box 105658
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30348-5658
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Cards
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                               $246.00
Stillwater Medical Center                                Last 4 digits of account number      5 9 6           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/21/2015
1323 West Sixth
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Stillwater                    OK      74074
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical bill
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                               $646.00
Synchrony Bank/Walmart                                   Last 4 digits of account number       7    1    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2016
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                               $304.00
World Financial Network Bank                             Last 4 digits of account number      0 6        9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2015
c/o Portfolio Recovery
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 41021                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23541
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Account Management Resources                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn Bankruptcy                                             Line   4.18 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
PO Box 60607                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       5    9    6    4
Oklahoma City                   OK      73146
City                            State   ZIP Code
Collecting For Stillwater Medical Center

Avante                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3600 South Gessner Road, Ste 225                            Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       9    9    4    2
Houston                         TX      77063
City                            State   ZIP Code

Collecting for Emergency Services Of Oklahoma

IRS                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 7346                                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    9    9    0
Philadelphia                    PA      19101-7346
City                            State   ZIP Code


Medical Data Systems                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
645 Walnut St Suite 5                                       Line    4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       6    9    5    8
Gadsden                         AL      35901
City                            State   ZIP Code
Collecting For Alliance Health

Medical Data Systems                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
645 Walnut St Suite 5                                       Line    4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    2    6    1
Gadsden                         AL      35901
City                            State   ZIP Code
Collecting For Alliance Health




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 10
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                   Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Midland Credit Management Inc                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 60578                                      Line   4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      4    7    4    5
Los Angeles                CA      90060-0578
City                       State   ZIP Code
Collecting For Fingerhut

Midwest Recovery Systems                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2747 W. Clay St Suite A                             Line   4.11 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      2    9    9    0
Saint Charles              MO      63301
City                       State   ZIP Code
Collecting For Emergency Services Of Oklahoma

Municipal Services Bureau                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 16755                                      Line   2.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      2    9    9    0
Austin                     TX      78761
City                       State   ZIP Code
Collecting For Oklahoma Tax Commission




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                      Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $2,428.25

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $2,500.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $4,928.25




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $16,680.45


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $16,680.45




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 12
                              Case: 18-12946                Doc: 1           Filed: 07/13/18             Page: 38 of 82


 Fill in this information to identify your case:
 Debtor 1            Debra                K                      Casey
                     First Name           Middle Name            Last Name

 Debtor 2            Gomer                L                      Casey, Jr.
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1
                              Case: 18-12946               Doc: 1            Filed: 07/13/18               Page: 39 of 82


 Fill in this information to identify your case:
 Debtor 1            Debra               K                       Casey
                     First Name          Middle Name             Last Name

 Debtor 2            Gomer               L                       Casey, Jr.
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
                              Case: 18-12946                  Doc: 1         Filed: 07/13/18                    Page: 40 of 82


 Fill in this information to identify your case:
     Debtor 1              Debra                K                       Casey
                           First Name           Middle Name             Last Name                           Check if this is:
     Debtor 2              Gomer                L                       Casey, Jr.                               An amended filing
     (Spouse, if filing)   First Name           Middle Name             Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF OKLAHOMA
                                                                                                                 chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status              Employed                                           Employed
      with information about                                           Not employed                                       Not employed
      additional employers.
                                        Occupation              Housewife                                          Senior Piping Designer
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                            Nesco Services

      Occupation may include            Employer's address                                                         4111 S. Darlington Avenue, Ste 1180
      student or homemaker, if it                               Number Street                                      Number Street
      applies.
                                                                                                                   Tulsa, OK 74135

                                                                                                                   Weekly - Friday; (918) 259-1233


                                                                City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?                                                           10 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                      $0.00             $10,653.07
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.                  $0.00             $10,653.07




Official Form 106I                                             Schedule I: Your Income                                                                page 1
                                      Case: 18-12946                             Doc: 1                Filed: 07/13/18                            Page: 41 of 82


Debtor 1        Debra K Casey
Debtor 2        Gomer L Casey, Jr.                                                                                                    Case number (if known)
                                                                                                                        For Debtor 1                For Debtor 2 or
                                                                                                                                                    non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00        $10,653.07
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00              $2,519.88
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00              $1,204.10
     5f. Domestic support obligations                                                                           5f.                  $0.00                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00                  $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                   $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00              $3,723.98
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00              $6,929.09
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                   $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                   $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                   $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                   $0.00
     8e. Social Security                                                                                        8e.                  $0.00                   $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                   $0.00
     8g. Pension or retirement income                               8g.                                                              $0.00                   $0.00
     8h. Other monthly income.
         Specify: See continuation sheet / Social Security/Gov. Assist.
                                                                    8h. +                                                            $0.00                   $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.         $0.00 +         $6,929.09 =                                                          $6,929.09
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                   11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                   12.             $6,929.09
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                          Combined
                                                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                          page 2
                         Case: 18-12946   Doc: 1      Filed: 07/13/18              Page: 42 of 82


Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                             Case number (if known)


                                                                   For Debtor 1       For Debtor 2 or
                                                                                      non-filing spouse
8h. Other Monthly Income (details)
     Social Security/Gov. Assist.                                          $0.00               $0.00
     0                                                                     $0.00

                                                         Totals:           $0.00               $0.00




Official Form 106I                         Schedule I: Your Income                                        page 3
                              Case: 18-12946                    Doc: 1         Filed: 07/13/18               Page: 43 of 82


 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Debra                  K                      Casey                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Gomer                  L                      Casey, Jr.
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF OKLAHOMA                                   MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                          $0.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                         $0.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                         $0.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $200.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $15.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
                              Case: 18-12946               Doc: 1         Filed: 07/13/18          Page: 44 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                            Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.                      $0.00
6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                   $300.00
     6b. Water, sewer, garbage collection                                       (Water and Trash Pick Up) 6b.                     $93.34
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                    $75.00
         cable services
     6d. Other. Specify:      Cable and Internet                                                           6d.                   $250.24
7.   Food and housekeeping supplies                                                                        7.                    $646.00
8.   Childcare and children's education costs                                                              8.                      $0.00
9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                    $172.00
10. Personal care products and services                                                                    10.                    $69.00
11. Medical and dental expenses                                                                            11.                   $104.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                    $75.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.                   $400.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                  $163.75
     15b.   Health insurance                                                                               15b.                    $0.00
     15c.   Vehicle insurance                                                                              15c.                  $124.39
     15d.   Other insurance. Specify:     Gerber Life 2 Policies- $4.18                                    15d.                    $7.51
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.                     $0.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.                    $0.00
     17b.   Car payments for Vehicle 2                                                                     17b.                    $0.00
     17c.   Other. Specify:                                                                                17c.                    $0.00
     17d.   Other. Specify:                                                                                17d.                    $0.00
18. Your payments of alimony, maintenance, and support that you did not report as                          18.                     $0.00
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.                     $0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                                    20a.                    $0.00
     20b.   Real estate taxes                                      (See continuation sheet(s) for details) 20b.                    $8.25
     20c.   Property, homeowner's, or renter's insurance                                                   20c.                    $0.00
     20d.   Maintenance, repair, and upkeep expenses                                                       20d.                    $0.00
     20e.   Homeowner's association or condominium dues                                                    20e.                    $0.00



 Official Form 106J                                        Schedule J: Your Expenses                                                page 2
                            Case: 18-12946                 Doc: 1         Filed: 07/13/18            Page: 45 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                               Case number (if known)

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $2,953.48
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $2,953.48

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $6,929.09
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $2,953.48
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       $3,975.61

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
                           Case: 18-12946                Doc: 1      Filed: 07/13/18       Page: 46 of 82


Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                      Case number (if known)


9.   Clothing, laundry, and dry cleaning (details):
     Wearing apparel                                                                                          $142.00
     Laundry/Dry Cleaning                                                                                      $30.00

                                                                                           Total:             $172.00


20b. Other Real Property--Real Estate Taxes (details):
     Real Estate Taxes on Jennings Property ($99.00 a year)                                                     $8.25

                                                                                           Total:               $8.25




 Official Form 106J                                      Schedule J: Your Expenses                               page 4
                                     Case: 18-12946                            Doc: 1               Filed: 07/13/18                        Page: 47 of 82


 Fill in this information to identify your case:
 Debtor 1                Debra                         K                              Casey
                         First Name                    Middle Name                    Last Name

 Debtor 2            Gomer                             L                              Casey, Jr.
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $202,353.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $53,022.34
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                            $255,375.34
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $198,209.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $4,928.25
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $16,680.45
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $219,817.70




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $6,929.09
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $2,953.48




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                             Case: 18-12946                 Doc: 1          Filed: 07/13/18             Page: 48 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                           Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $10,785.19


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $2,428.25


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00

     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00

     9g. Total.    Add lines 9a through 9f.                                                                      $2,428.25




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                              Case: 18-12946            Doc: 1           Filed: 07/13/18          Page: 49 of 82


 Fill in this information to identify your case:
 Debtor 1           Debra               K                    Casey
                    First Name          Middle Name          Last Name

 Debtor 2            Gomer              L                    Casey, Jr.
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Debra K Casey                                    X /s/ Gomer L Casey, Jr.
        Debra K Casey, Debtor 1                               Gomer L Casey, Jr., Debtor 2

        Date 07/13/2018                                       Date 07/13/2018
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
                              Case: 18-12946                Doc: 1           Filed: 07/13/18              Page: 50 of 82


 Fill in this information to identify your case:
 Debtor 1           Debra                   K                    Casey
                    First Name              Middle Name          Last Name

 Debtor 2            Gomer                  L                    Casey, Jr.
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                  Sources of income          Gross income            Sources of income           Gross income
                                                  Check all that apply.      (before deductions      Check all that apply.       (before deductions
                                                                             and exclusions                                      and exclusions

From January 1 of the current year until              Wages, commissions,                                 Wages, commissions,              $61,698.17
the date you filed for bankruptcy:                    bonuses, tips                                       bonuses, tips
                                                      Operating a business                                Operating a business


For the last calendar year:                           Wages, commissions,                                 Wages, commissions,             $129,313.00
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                                Operating a business


For the calendar year before that:                    Wages, commissions,                                 Wages, commissions,             $124,526.00
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                                Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
                                Case: 18-12946            Doc: 1         Filed: 07/13/18              Page: 51 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                       Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                     Gambling Winnings                   $1,668.00
(January 1 to December 31, 2017 )               Capital Gain or (loss)               $111.00
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2016 )
                                YYYY




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
                                 Case: 18-12946                  Doc: 1         Filed: 07/13/18              Page: 52 of 82


Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                            Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
IRS                                                                               $5,534.00              $0.00               Mortgage
Creditor's name                                                                                                              Car
                                                               March 20, 2018; April 20, 2018 and May 20,
PO Box 7346                                                                                                                  Credit card
Number      Street                                             2018-The Debtors 2017 Tax Refund was
                                                               used to setoff what was owed to the IRS                       Loan repayment
                                                                                                                             Suppliers or vendors
Philadelphia                         PA       19101-7346                                                                     Other Tax Liability
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
                                Case: 18-12946                 Doc: 1       Filed: 07/13/18               Page: 53 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                            Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                               Status of the case
Wells Fargo Bank NA vs Gomer Civil/Foreclosure                                        In the District Court of Kay County
                                                                                                                                              Pending
L. Casey a/k/a Casey Gomer                                                            Court Name
a/k/a Gomer L. Casey Jr.; Debra                                                                                                               On appeal
K. Casey a/k.a Debra Casey;                                                           Number     Street
and John Doe, Occupant                                                                                                                        Concluded

Case number CJ-2017-121
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Capital One Bank (USA) NA vs              Civil/Release of Judgement Lien             In the District Court of Kay County
                                                                                                                                              Pending
Gomer L. Casey                            and Release and Satisfaction of             Court Name
                                          Judgment entered on 9/22/2014                                                                       On appeal
                                                                                      Number     Street
Case number CS-2012-00081                                                                                                                     Concluded


                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Midland Funding LLC vs Gomer Civil/Release of Judgment Lien                           In the District Court of Kay County
                                                                                                                                              Pending
Casey                        and Release and Satisfaction of                          Court Name
                             Judgment entered on 11/14/2016                                                                                   On appeal
                                                                                      Number     Street
Case number CS-2012-104                                                                                                                       Concluded


                                                                                      City                       State   ZIP Code




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
                                Case: 18-12946                   Doc: 1      Filed: 07/13/18             Page: 54 of 82


Debtor 1         Debra K Casey
Debtor 2         Gomer L Casey, Jr.                                                         Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

Describe the property you lost and how                 Describe any insurance coverage for the loss             Date of your   Value of property
the loss occurred                                      Include the amount that insurance has paid. List pending loss           lost
                                                       insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                     2017        $18,000.00
Cash                                                   Gambling Losses for the year of 2017
Describe the property you lost and how                 Describe any insurance coverage for the loss             Date of your   Value of property
the loss occurred                                      Include the amount that insurance has paid. List pending loss           lost
                                                       insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                     2018          $400.00
Cash                                                   Gambling losses in the approximate amount of
                                                       $400.00 for the year of 2018




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 5
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                          Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
The Gooding Law Firm, P.C.                                                                                      or transfer was     payment
Person Who Was Paid                                                                                             made

204 N. Robinson Avenue                                                                                             06/06/2018           $1,000.00
Number      Street

Suite 650

Oklahoma City                 OK       73102
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Scott Harris                                         The debtor paid Mr. Harris to help them with a             or transfer was     payment
Person Who Was Paid                                  loan modification for their mortgage                       made

1715 N. Broadway Ave
Number      Street                                   The Debtors paid a total of $6,000.00 from May,
                                                     2018 through April, 2018


Oklahoma City                 OK       73103
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1        Debra K Casey
Debtor 2        Gomer L Casey, Jr.                                                          Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
City National Bank
Name of Financial Institution
                                                      XXXX-                            Checking                        2017                $0.00
PO Box 2009                                                                            Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
Lawton                          OK      73502-2200
City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
City National Bank
Name of Financial Institution
                                                      XXXX-                            Checking                        2017                $0.00
PO Box 2009                                                                            Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
Lawton                          OK      73502-2200
City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                      Case number (if known)

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
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Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                              Case number (if known)

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Debra K Casey                                          X /s/ Gomer L Casey, Jr.
   Debra K Casey, Debtor 1                                       Gomer L Casey, Jr., Debtor 2

   Date       07/13/2018                                         Date      07/13/2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal             for your state of residence and family size, depending
    restitution obligations; and                                 on the results of the Means Test, the U.S. trustee,
                                                                 bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy         dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                      Code. If a motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:              choose to proceed under another chapter of the
                                                                 Bankruptcy Code.
    fraud or theft;
                                                                 If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                 trustee may sell your property to pay your debts, subject
    capacity;
                                                                 to your right to exempt the property or a portion of the
                                                                 proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                 and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor         trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from          called exempt property. Exemptions may enable you to
    alcohol or drugs.                                            keep your home, a car, clothing, and household items or
                                                                 to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have            Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You           must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly            Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing    property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine         proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                 Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                 +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--           Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your               is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to          11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF OKLAHOMA
                                                               OKLAHOMA CITY DIVISION
In re Debra K Casey                                                                                                                 Case No.
      Gomer L Casey, Jr.
                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,500.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   07/13/2018                         /s/ O. Clifton Gooding
                      Date                            O. Clifton Gooding                         Bar No. 10315
                                                      The Gooding Law Firm, P.C.
                                                      650 City Place Building
                                                      204 N. Robinson Avenue
                                                      Oklahoma City, Oklahoma 73102
                                                      Phone: (405) 948-1978 / Fax: (405) 948-0864
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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF OKLAHOMA
                                           OKLAHOMA CITY DIVISION
  IN RE:   Debra K Casey                                                            CASE NO
           Gomer L Casey, Jr.
                                                                                   CHAPTER        13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/13/2018                                           Signature    /s/ Debra K Casey
                                                                     Debra K Casey



Date 7/13/2018                                           Signature    /s/ Gomer L Casey, Jr.
                                                                     Gomer L Casey, Jr.
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           Account Management Resources
           Attn Bankruptcy
           PO Box 60607
           Oklahoma City, OK 73146


           AllianceHealth
           1900 North 14th Street
           Ponca City, OK 74601



           Allrad, LLC
           c/o Credit Systems International, Inc
           1277 Country Club Lane
           Fort Worth, TX 76112


           Avante
           3600 South Gessner Road, Ste 225
           Houston, TX 77063



           Capital One
           Attn: Bankruptcy
           PO Box 30285
           Salt Lake City, UT 84130


           Comenity Bank/Full Beauty
           Attn Bankruptcy
           PO Box 182125
           Columbus, OH 43218


           Comenity Bank/Stage
           Attn: Bankruptcy Dept
           PO Box 182125
           Columbus, OH 43218


           Continental Finance Company
           Attn: Bankruptcy
           PO Box 8099
           Newark, DE 19714


           Credit One Bank
           ATTN: Bankruptcy
           PO Box 98873
           Las Vegas, NV 89193
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           Emergency Services Of Oklahoma
           P.O. Box 96408
           Oklahoma City, OK 73143



           Fingerhut
           Bankruptcy Dept
           6250 Ridgewood Rd
           Saint Cloud, MN 56303


           First National Credit Card/Legacy
           First National Credit Card
           PO Box 5097
           Sioux Falls, SD 51117


           Health Diagnostic Laboratory
           c/o Accelerated Receivables Management
           3219 Atlantic Blvd
           Jacksonville, FL 32207


           IRS
           PO Box 7346
           Philadelphia, PA 19101-7346



           Medical Data Systems
           645 Walnut St Suite 5
           Gadsden, AL 35901



           Midland Credit Management Inc
           P.O. Box 60578
           Los Angeles, CA 90060-0578



           Midwest Recovery Systems
           2747 W. Clay St Suite A
           Saint Charles, MO 63301



           Municipal Services Bureau
           P.O. Box 16755
           Austin, TX 78761
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           Oklahoma Tax Commission
           Legal Division
           100 N Broadway Avenue Suite 1500
           Oklahoma City, OK 73102


           Pay Pal Credit
           P.O. Box 105658
           Atlanta, GA 30348-5658



           Shapiro & Cejda LLC
           Attn Lesli Bailey Peterson
           770 NE 63rd Street
           Oklahoma City, OK 73105


           Stillwater Medical Center
           1323 West Sixth
           Stillwater, OK 74074



           Synchrony Bank/Walmart
           Attn: Bankruptcy Dept
           PO Box 965060
           Orlando, FL 32896


           The Gooding Law Firm, P.C.
           204 N. Robinson Avenue
           Suite 650
           Oklahoma City, Oklahoma 73102


           Wells Fargo Home Mor
           Attn: Bankruptcy
           MAC X7801-014    3476 Stateview Blvd
           Fort Mill, SC 29715


           World Financial Network Bank
           c/o Portfolio Recovery
           PO Box 41021
           Norfolk, VA 23541
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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Debra                   K                       Casey                    According to the calculations required by this
                    First Name              Middle Name             Last Name                Statement:

 Debtor 2            Gomer                  L                       Casey, Jr.                  1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name             Last Name                      under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA                              under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00         $10,785.19
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                                Debtor 1            Debtor 2
     Gross receipts (before all                        $0.00                $0.00
     deductions)
     Ordinary and necessary operating      –           $0.00    –           $0.00
     expenses                                                                       Copy
     Net monthly income from a business,               $0.00                $0.00 here            $0.00                $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
                                         Case: 18-12946                                 Doc: 1                  Filed: 07/13/18                       Page: 70 of 82


Debtor 1          Debra K Casey
Debtor 2          Gomer L Casey, Jr.                                                                                                   Case number (if known)

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00                           $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –                $0.00
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                           $0.00 here                            $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00            $0.00
8.    Unemployment compensation                                                                                                                    $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00            $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                        $0.00   +   $10,785.19   =      $10,785.19
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                       $10,785.19
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –        $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $10,785.19




Official Form 122C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
                                    Case: 18-12946                                Doc: 1                  Filed: 07/13/18                               Page: 71 of 82


Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                                                                  Case number (if known)

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                           $10,785.19
                                             ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                X         12

    15b.                                                                                                                                                        $129,422.28
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                      Oklahoma
    16b.    Fill in the number of people in your household.                                                   2

    16c.                                                                                                                                                             $58,426.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                $10,785.19
                                                                                             ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                              $10,785.19

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                          $10,785.19
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                         X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                        $129,422.28

    20c.                                                                                                                                                 $58,426.00
            Copy the median family income for your state and size of household from line 16c. ....................................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.

 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Debra K Casey                                                                                      X     /s/ Gomer L Casey, Jr.
        Debra K Casey, Debtor 1                                                                                      Gomer L Casey, Jr., Debtor 2

        Date 7/13/2018                                                                                               Date 7/13/2018
             MM / DD / YYYY                                                                                               MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                     page 3
                                    Case: 18-12946                            Doc: 1               Filed: 07/13/18                        Page: 72 of 82


 Fill in this information to identify your case:
 Debtor 1               Debra                         K                             Casey
                        First Name                    Middle Name                   Last Name

 Debtor 2            Gomer                            L                             Casey, Jr.
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA

 Case number
 (if known)
                                                                                                                                   Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                              04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                               2
      be different from the number of people in your household.


 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                    $1,202.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                      $52.00
      7b. Number of people who are under 65                                         X                  2
                                                                                                              Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                            $104.00           here                           $104.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                    $114.00
      7e. Number of people who are 65 or older                                      X
                                                                                                              Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                              $0.00         here                +              $0.00
                                                                                                                                                                   Copy
                                                                                                                                              $104.00              here
      7g. Total. Add lines 7c and 7f................................................................................................................................       $104.00




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                        page 1
                             Case: 18-12946                 Doc: 1          Filed: 07/13/18              Page: 73 of 82


Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                              Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,              $606.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed              $654.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Wells Fargo Home Mor                                    $1,399.00



                                                              +
                                                                                                                   Repeat this
                                                                                    Copy                           amount on
            9b. Total average monthly payment                       $1,399.00       here           –     $1,399.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                      Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                       $0.00    here         $0.00
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                 $392.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                             page 2
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Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                                             Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:




      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you file for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                              Repeat this
                                                                                                   Copy                                       amount on
                                Total average monthly payment                                      here                  –                    line 33b.

                                                                                                                                              Copy net
                                                                                                                                              Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                          expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ........................                                here          $0.00

      Vehicle 2         Describe Vehicle 2:




      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                                                                                              Repeat this
                                                                                                   Copy                                       amount on
                                Total average monthly payment                                      here                  –                    line 33c.

                                                                                                                                              Copy net
                                                                                                                                              Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                          expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.                   ........................                   here          $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                 $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                   $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.



Official Form 122C-2                                           Chapter 13 Calculation of Your Disposable Income                                             page 3
                             Case: 18-12946                Doc: 1         Filed: 07/13/18                Page: 75 of 82


Debtor 1       Debra K Casey
Debtor 2       Gomer L Casey, Jr.                                                        Case number (if known)

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                                $2,628.83
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                       $0.00
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                     $171.26
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +                $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                              $5,104.09

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                       $1,108.01
      Disability insurance                                        $0.00
      Health savings account                           +          $0.00

      Total                                                  $1,108.01 Copy total here                                                                      $1,108.01
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                 $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                              page 4
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Debtor 1     Debra K Casey
Debtor 2     Gomer L Casey, Jr.                                                                                               Case number (if known)

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                                                               $0.00
     $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                                               +            $400.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                                                                                 $1,508.01
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                      Average monthly
                                                                                                                                      payment
             Mortgages on your home
      33a.                                                                                                                                   $1,399.00
             Copy line 9b here............................................................................................................................................................................................
             Loans on your first two vehicles
      33b.                                                                                                                                         $0.00
             Copy line 13b here............................................................................................................................................................................................
      33c.                                                                                                                                         $0.00
             Copy line 13e here............................................................................................................................................................................................
      33d.   List other secured debts:
      Name of each creditor for                                   Identify property that                       Does payment
      other secured debt                                          secures the debt                             include taxes or
                                                                                                               insurance?

                                                                                                                              No
                                                                                                                              Yes

                                                                                                                              No
                                                                                                                              Yes
                                                                                                                              No
                                                                                                                                       +
                                                                                                                              Yes
                                                                                                                                                                       Copy total
      33e.                                                                                                      $1,399.00
             Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $1,399.00




Official Form 122C-2                                                     Chapter 13 Calculation of Your Disposable Income                                                                                   page 5
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Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                                                Case number (if known)

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                      Total cure                            Monthly cure
                                         secures the debt                            amount                                amount

 Wells Fargo Home Mor                    1638 Harvest Rd, Ponca City, Ok
                                                                      $26,000.00
                                                                         74604                              ÷ 60 =                $433.33

                                                                                                            ÷ 60 =

                                                                                                            ÷ 60 =     +
                                                                                                                                                   Copy total
                                                                                                             Total                $433.33          here          $433.33

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
            No. Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                               $4,928.25
                    Total amount of all past-due priority claims...................................................................................... ÷ 60 =     $82.15

 36. Projected monthly Chapter 13 plan payment                                                                                   $2,455.00
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                             X            10 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                                   Copy total
      Average monthly administrative expense                                                                                      $245.50          here          $245.50

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                  $2,159.98

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $5,104.09
      Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

      Copy line 32, All of the additional expense deductions...............................................................$1,508.01

      Copy line 37, All of the deductions for debt payment.....................................................        +         $2,159.98
                                                                                                                                                   Copy total
      Total deductions                                                                                                           $8,772.08         here         $8,772.08



 Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
                                                                                                                                            $10,785.19
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................




Official Form 122C-2                                             Chapter 13 Calculation of Your Disposable Income                                                   page 6
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Debtor 1          Debra K Casey
Debtor 2          Gomer L Casey, Jr.                                                                                            Case number (if known)

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                                 $0.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                               $8,772.08
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense




                                                                                            +
                                                                                                                         Copy
                                                                                 Total                      $0.00 here                  +               $0.00

                                                                                                                                                    Copy
                                                                                                                            $8,772.08                                  –
 44. Total adjustments. Add lines 40 through 43..............................................................................................................................
                                                                                                                                                    here                               $8,772.08


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                       $2,013.11

 Part 3:            Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form                Line        Reason for change                                                                Date of change                       Increase or      Amount of change
                                                                                                                                                                decrease?

                122C-1                                                                                                                                                Increase
                122C-2                                                                                                                                                Decrease

                122C-1                                                                                                                                                Increase
                122C-2                                                                                                                                                Decrease

                122C-1                                                                                                                                                Increase
                122C-2                                                                                                                                                Decrease

                122C-1                                                                                                                                                Increase
                122C-2                                                                                                                                                Decrease




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Debtor 1      Debra K Casey
Debtor 2      Gomer L Casey, Jr.                                                         Case number (if known)

 Part 4:       Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X    /s/ Debra K Casey                                                  X   /s/ Gomer L Casey, Jr.
           Debra K Casey, Debtor 1                                                Gomer L Casey, Jr., Debtor 2

           Date 7/13/2018                                                         Date 7/13/2018
                MM / DD / YYYY                                                         MM / DD / YYYY




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                        page 8
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                                      Current Monthly Income Calculation Details
In re: Debra K Casey                                                     Case Number:
       Gomer L Casey, Jr.                                                Chapter:     13

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5              4            3             2         Last      Avg.
                                              Months        Months         Months       Months        Months     Month       Per
                                               Ago           Ago            Ago          Ago           Ago                  Month

Spouse                                     Income from employment
                                              $9,860.67  $9,833.60 $12,292.00           $9,861.73     $9,833.60 $13,029.52 $10,785.19




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                                        Underlying Allowances (as of 07/13/2018)
In re: Debra K Casey                                                      Case Number:
       Gomer L Casey, Jr.                                                 Chapter:     13


                                                      Median Income Information
 State of Residence                                                   Oklahoma
 Household Size                                                       2
 Median Income per Census Bureau Data                                 $58,426.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          2
 Gross Monthly Income                                                 $10,785.19
 Income Level                                                         Not Applicable
 Food                                                                 $646.00
 Housekeeping Supplies                                                $64.00
 Apparel and Services                                                 $142.00
 Personal Care Products and Services                                  $69.00
 Miscellaneous                                                        $281.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $1,202.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $52.00
 Number of members                                                    2
 Subtotal                                                             $104.00
 Household members 65 years of age or older
 Allowance per member                                                 $114.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $104.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Oklahoma
 County or City Name                                                  Kay County
 Family Size                                                          Family of 2
 Non-Mortgage Expenses                                                $606.00
 Mortgage/Rent Expense Allowance                                      $654.00
 Minus Average Monthly Payment for Debts Secured by Home              $1,399.00
 Equals Net Mortgage/Rental Expense                                   $0.00
 Housing and Utilities Adjustment                                     $0.00




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                                        Underlying Allowances (as of 07/13/2018)
In re: Debra K Casey                                                      Case Number:
       Gomer L Casey, Jr.                                                 Chapter:     13


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                South Region
 Number of Vehicles Operated                                          2 or more
 Allowance                                                            $392.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                South Region
 Allowance (if entitled)                                              $178.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                South Region
 Number of Vehicles with Ownership/Lease Expense                      0
                                                    First Car                                              Second Car
 Allowance
 Minus Average Monthly
 Payment for Debts
 Secured by Vehicle
 Equals Net Ownership /
 Lease Expense




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